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NVB#113 (rev. 12/17)
                                             UNITED STATES BANKRUPTCY COURT
                                                    DISTRICT OF NEVADA

In re:                                                      BK - -              19-11936
Debtor 1 -         Anthony Edell Duncan
                                                            Chapter 13 Plan #          1

Debtor 2 -                                                  Plan Modification:
                                                            Confirmation Hearing Date:          05/30/2019
                                                Debtor.     Confirmation Hearing Time:          1:30 p.m.




                                                           CHAPTER 13 PLAN

Section 1: Notices

1.1 – Valuation of Collateral and Lien Avoidance Requires a Separate Motion - The confirmation of this plan will not limit the
amount of a secured claim based on a valuation of the collateral for the claim, nor will it avoid a security interest or lien.

1.2 – Nonstandard Provisions – This plan        includes             does not include nonstandard provisions in
Section 9.2.

Section 2: Eligibility, Commitment Period, Disposable Income, Plan Payments, and Fees

2.1 – Statement of Eligibility to Receive a Discharge
         a. Debtor 1: Is eligible to receive a Chapter 13 discharge.
         b. Debtor 2: Is eligible to receive a Chapter 13 discharge.

2.2 – Applicable Commitment Period – The applicable commitment period is 60 months. Monthly payments must continue for the
entire commitment period unless all allowed unsecured claims are paid in full.

2.3 – Disposable Income – Debtor is over median income. Debtor’s monthly disposable income of $-405.91 multiplied by the
applicable commitment period equals $ -24,354.60 .

2.4 – Liquidation Value – The liquidation value of the estate is $ 0.00 . Liquidation value is derived from the following non-exempt
assets:


2.5 - MONTHLY PAYMENTS: - Debtor shall make monthly payments to the Trustee as follows:

$1,117.00              for 60     months commencing 04/29/2019                             - Totaling $ 67,000.00

2.6 - Additional Payments - Debtor will make additional payments to the Trustee from other sources as specified below.
 Amount of Payment               Date                Source of Payment
 $20,000.00                      4/2020              2020 Bonus
 $20,000.00                      4/2021              2021 Bonus
 $20,000.00                      4/2022              2022 Bonus
 $20,000.00                      4/2023              2023 Bonus
 $10,000.00                      5/2021              2020 Tax Refund
 $10,000.00                      5/2022              2021Tax Refund
 $10,000.00                      5/2023              2022 Tax Refund
 $10,000.00                      5/2024              2023 Tax Refund

2.7 - The total amount of plan payments to the Trustee           $ 187,000.00

2.8 – Tax Returns and Refunds – Debtor shall submit to the Trustee, within 14 days of filing the return, copies of all personal and
business tax returns filed with any federal or state taxing authority for the prior tax year, along with copies of any W-2 forms, 1098
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forms, and 1099 forms. In addition to plan payments, Debtor shall turn over to the Trustee and pay into the plan the non-exempt portion
of all tax refunds for the following tax years:
                     2019, 2020, 2021, 2022, 2023

2.9 - Trustees fees -Trustee's fees are estimated to be 10% of all plan payments, which totals:$18,700.00. Trustee shall collect these
fees from payments received under the plan.

2.10 – Debtor’s Attorney’s Fees – Debtor’s attorney’s fees, costs, and filing fees in this case shall be $6,796.00. The sum of $499.00
has been paid to the attorney prior to the filing of the petition. The balance of $ 6,297.00 shall be paid through the plan by the Trustee.

2.11 – Additional Attorney’s Fees - For feasibility purposes, additional attorney fees are estimated to be $3,000.00. These fees are for
services that are specifically excluded on the Disclosure of Compensation of Attorney for Debtor(s) [Form B2030]. These fees will not
be reserved by the Trustee unless a request for these fees is properly filed with the Court.

2.12 – Other Administrative Expenses – All approved administrative expenses, including Mortgage Modification Meditation Program
fees, shall be paid in full unless the holder of such claim agrees to accept less or 11 U.S.C. §1326(b)(3)(B) is applicable.

 Creditor's Name                                    Services Provided                     Amount Owed
 -NONE-

Section 3: General Treatment of Claims

3.1 – Claims Must be Filed and Provided for – A proof of claim must be filed in order for the claim to be paid pursuant to this plan. If a
filed proof of claim is not provided for by this plan, no payments will be made to the claimant.

3.2 - Payment of Claims is based upon the Proof of Claim - The amount and classification of a creditor's claim shall be determined
and paid based upon its proof of claim unless the court enters a separate order providing otherwise.

3.3 - Interest on Claims - If interest is required to be paid on a claim, the interest rate shall be paid in accordance with the Chapter 13
Plan unless a separate Order of the Court establishes a different rate of interest. Interest shall accrue from the petition date on claims
secured by property with a value greater than is owed under contract or applicable non-bankruptcy law. For all other claims, interest
shall accrue from the date the plan is confirmed unless otherwise ordered by the Court.

3.4 - Payments made by Trustee - Unless otherwise stated, claims provided for in this plan shall be paid by the Trustee.

Section 4: Treatment of Secured Creditors

4.1 – Conduit Payments – The monthly contractual installment payments, including Mortgage Modification Meditation Program
payments, (“conduit payments”) will be paid as follows: (a) Trustee will make monthly post-petition installment payments on claims as
they come due; (b) the first monthly installment payment of the total number of payments listed below shall be treated and paid as a
conduit gap payment; (c) Trustee will not make a partial conduit payment; (d) if all conduit payments cannot be made, Trustee will
prioritize disbursements by making conduit payments to creditors in the order in which they are listed below; (e) a Notice of Payment
Change must be filed to effectuate a monthly payment change; and (f) in the event that the conduit payment increases, Debtor shall
increase the plan payments to the Trustee without modification of the plan.
                                                       Conduit Number of
 Creditor Name                        Principal
                                                      Payment       Conduit          Conduit Start Date            Estimated Total
 Collateral Description             Residence
                                                       Amount Payments

4.2 – Pre-Petition Arrearages – Including claims for real and personal property, taxes, HOA fees, and public utilities.
 Creditor Name                                 Pre-Petition
 Collateral Description                         Arrearage           Interest Rate         Estimated Total
 -NONE-

4.3 – Modified Claims – Including claims paid based upon 11 U.S.C. §506 valuation or other agreement.
 Creditor Name                         Full Claim      Fair Market
 Collateral Description                  Amount          Value        Interest Rate     Estimated Total
 -NONE-

4.4 – Claims Modified and Paid in Full – Including secured tax liens and claims secured by purchase money security interest that
were (a) incurred within 910 days preceding the filing of the petition and secured by a motor vehicle acquired for personal use of the
debtor, or (b) incurred within 1 year preceding the filing of the petition and secured by any other thing of value.
 Creditor Name                                                                    Interest
 Collateral Description                                   Full Claim Amount        Rate          Estimated Total
 -NONE-


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4.5 – Post-Petition Claims – Including claims provided for under 11 U.S.C. §1305(a), such as taxes that become payable to a
governmental unit while the case is pending, delinquent post-petition mortgage payments, and estimated 3002.1(c) Fees, Expenses,
and Charges.
 Creditor Name                                                               Interest
 Collateral Description                                   Claim Amount        Rate          Estimated Total
 -NONE-

4.6 – Claims Paid Directly by Debtor or Third Party
 Creditor Name                                                                          Contractual Monthly
 Collateral Description                                                                   Payment Amount                Maturity Date
 Bridgecrest
 2015 Dodge Challenger 35060 miles                                                                      612.77
 Freedom Mortgage Corporation
 107 Rockwood Lane Saint Albans, WV 25177 Kanawha
 County                                                                                              1,626.00

4.7 – Surrender of Collateral – Debtor surrenders the real or personal property listed below. Upon confirmation of this plan, the stay
terminates under §362(a) and §1301 with respect to the surrendered collateral listed below.

 Creditor Name                                      Description of Collateral                                    Estimated Deficiency
 -NONE-

Section 5: Treatment of Unsecured Creditors

5.1 – Priority Claims Paid in Full

 Creditor Name                                                                           Interest Rate,
 Collateral Description                                                Full Claim Amount  if Applicable                 Estimated Total
 IRS                                                                          132,000.00       0.00                         132,000.00
 West Virginia State Tax
 Department
 2016 state taxes                                                              27,000.00         0.00                        27,000.00

5.2 – Domestic Support Obligations Assigned or Owed to a Governmental Unit – Including claims that will be paid less than the
full amount pursuant to 11 U.S.C. §1322(a)(4). These claims will be paid in the amount listed below.

 Creditor Name
 Collateral Description                     Full Claim Amount                 Amount to be Paid by Plan
 -NONE-

5.3 – Specially Classified Non-Priority Unsecured Claims – The allowed non-priority unsecured claims listed below are separately
classified and will be treated as follows.

                                    Basis for separate
 Creditor Name                      classification and
 Collateral Description             treatment                           Amount to be Paid      Interest Rate          Estimated Total
 -NONE-

5.4 – Non-Priority Unsecured Claims – Allowed general non-priority unsecured claims shall be paid a pro-rata share of the funds
remaining after disbursements have been made to all other creditors provided for in this plan. This amount may change based upon the
allowed claim amounts, amended claims, interest rates, additional attorney's fees, and/or other administrative expenses. Debtor
estimates that $0 will be available for non-priority unsecured claims that are not specially classified.

                Debtor shall pay 100% of all filed and allowed non-priority unsecured claims.
                Debtor’s estate is solvent under 11 U.S.C. §1325(a)(4) and non-priority unsecured claims shall receive interest at %.

Section 6: Executory Contracts and Unexpired Leases

6.1 – Debtor’s Election – Debtor assumes or rejects the executory contracts and unexpired leases listed below. Any executory
contract or unexpired lease not listed below is rejected. Debtor shall timely pay all amounts due under any accepted executory contract
or unexpired lease.

 Lessor's Name/ Collateral Description                           Accept / Reject            Expiration Date
 -NONE-

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Section 7: Distribution of Plan Payments

7.1 – Distributions – After confirmation, funds available for distribution will be paid monthly by the Trustee.

7.2 – Order of Distribution –Trustee will pay as funds are available in the following order:
         a. Conduit payments (§4.1);
         b. Monthly payments on secured claims as required by separate court order (§9.2);
         c. Attorney Fees and Administrative Expenses (§2.10, §2.11, §2.12);
         d. Modified Claims and Claims Modified and Paid in Full (§4.3, §4.4);
         e. Conduit gap payments and Post-Petition claims (§4.1, §4.5);
         f. Pre-Petition Arrearage claims (§4.2);
         g. Priority claims (§5.1, §5.2);
         h. Separately Classified Unsecured Claims (§5.3);
         i. Non-Priority Unsecured Claims (§5.4).

Section 8: Miscellaneous Provision

8.1 Debtor Duties – In addition to the duties imposed upon Debtor by the Bankruptcy Code and Rules, the Local Bankruptcy Rules,
Administrative Orders, and General Orders, the Plan imposes the following additional duties:

            a. Transfer of Property and New Debt - Debtor is prohibited from transferring, encumbering, selling or otherwise disposing of
               any nonexempt personal property with a value of $1,000 or more or real property with a value of $5,000 or more without
               court approval. Except as provided in §364 and §1304, Debtor may not incur new debt exceeding $1,000 without court
               approval.

            b. Insurance and Taxes – Debtor shall pay all post-petition tax obligations and maintain insurance as required by law or
               contract. Debtor shall provide evidence of such payment to Trustee upon request.

            c. Periodic Reports – Upon request by the Trustee, Debtor shall provide the Trustee with: proof that direct payments have been
               made under §4.6 of this plan; information relating to a tax return filed while the case is pending; quarterly financial
               information regarding Debtor's business or financial affairs; and a §521(f)(4) statement detailing Debtor's income and
               expenditure for the prior tax year.

            d. Funds from Creditors – If Debtor receives funds from a creditor which were previously disbursed to the creditor by the
               Trustee, Debtor shall immediately tender such funds to the Trustee and provide a written statement identifying the creditor
               from whom the funds were received.

8.2 Creditor Duties – In addition to the duties imposed upon a Creditor by Federal law, State Law, and contract, the Plan imposes the
following additional duties:

            a. Release of Lien – The holder of an allowed secured claim, provided for in §4.3 or §4.4, shall retain its lien until the earlier of
               the payment of the underlying debt as determined under non-bankruptcy law or discharge under §1328. After either one of
               the foregoing events, the creditor shall release its lien and provide evidence and/or documentation of such release to Debtor
               within 30 days. In the event the creditor fails to timely release the lien, the debtor may request entry of an order declaring
               that the secured claim has been satisfied and the lien has been released.

            b. Refund all Overpayments to the Trustee - Creditors shall not refund any payments or overpayments to the Debtor.

               1. If a creditor withdraws its Proof of Claim after the Trustee has disbursed payments on such claim, the creditor shall refund
                  all payments to the Trustee within 60 days of the withdrawal.
               2. If a creditor amends its Proof of Claim to assert an amount less than what was previously disbursed by the Trustee on
                  such claim, the creditor shall refund the overpayment to the Trustee within 60 days of the amendment.
               3. If a creditor receives payment from the Trustee in excess of the amount asserted in its Proof of Claim or required to be
                  paid under this Plan, the creditor shall refund the overpayment to the Trustee within 60 days of receiving the overpayment.

8.3 Vesting – Any property of the estate scheduled under §521 shall vest in Debtor upon confirmation of this plan.

8.4 Remedies of Default –

            a. If Debtor defaults in the performance of this Plan, the Trustee or any other party in interest may request appropriate relief by
               filing a motion and setting it for hearing pursuant to Local Rule 9014.
            b. If, on motion of a creditor, the Court terminates the automatic stay to permit a creditor to proceed against its collateral,
               unless the Court orders otherwise, the Trustee will make no further distribution to such secured claim.
            c. Any deficiency claim resulting from the disposition of the collateral shall be paid as a non-priority unsecured claim provided
               that a Proof of Claim or Amended Proof of Claim is filed, allowed, and served on Debtor. Such deficiency claim shall be paid
               prospectively only, and chapter 13 plan payments previously disbursed to holder of other allowed claims shall not be
               recovered by the Trustee to provide a pro-rata distribution to the holder of any such deficiency claims.
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8.5 Plan Extension Without Modification – If the plan term does not exceed 60 months and any claims are filed in amounts greater
than the amounts specifically stated herein, Debtor authorizes the Trustee to continue making payments to creditors beyond the term of
the plan. Debtor shall continue making plan payments to the Trustee until the claims, as filed, are paid in full or until the plan is
otherwise modified.

Section 9: Nonstandard Plan Provision

9.1 Check Box Requirement - Nonstandard plan provisions will be effective only if §1.2 of this plan indicates that this plan includes
non-standard provisions. Any nonstandard provision placed elsewhere in the plan is void.

9.2 Nonstandard Plan Provisions:




Section 10: Signatures

Executed on April 29, 2019

 /s/ Anthony Edell Duncan
 Anthony Edell Duncan




By filing this document, I certify that the wording and order of the provisions of this Chapter 13 plan are identical to those
contained in NVB 113, other than any nonstandard provisions set forth in §9.


 /s/ George Haines, Esq.
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